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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                              Plaintiff,                Case No. MJ21-104

10            v.                                          DETENTION ORDER

11   DAVID MANUEL ROSARIO,

12                              Defendant.

13

14   Offenses charged: Count 1: Unlawful Possession of a Firearm, 21 U.S.C. §§ 922(n) and

15   924(a)(1)(D); Count 2: Possession of a Firearm in Furtherance of a Drug Trafficking Crime, 18

16   U.S.C. § 924(c)(1)(A).

17            Date of Detention Hearing: On January 12, 2021, the Court held a hearing via a Zoom

18   videoconference, with the consent of Defendant, due to the exigent circumstances as outlined in

19   General Order 18-20 and subsequent orders. This detention order is without prejudice to

20   renewing once the court has reconstituted in-person hearings.

21            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22   based upon the reasons for detention hereafter set forth on the record and as set forth below,

23   finds:




     DETENTION ORDER - 1
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 1         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         1.      Defendant has stipulated to detention.

 3         2.      Upon advice of counsel, Defendant declined to be interviewed by Pretrial

 4                 Services. Therefore, there is limited information available about him.

 5         3.      Taken as a whole, the Court finds that Defendant presents a serious risk of flight

 6                 and a risk of danger to the community. The Court finds that no condition or

 7                 combination of conditions will reasonably assure the appearance of the Defendant

 8                 as required or the safety of the community.

 9         IT IS THEREFORE ORDERED:

10         (1)     Defendant shall be detained pending trial, and committed to the custody of the

11                 Attorney General for confinement in a correction facility separate, to the extent

12                 practicable, from persons awaiting or serving sentences or being held in custody

13                 pending appeal;

14         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

15                 counsel;

16         (3)     On order of a court of the United States or on request of an attorney for the

17                 government, the person in charge of the corrections facility in which Defendant is

18                 confined shall deliver the defendant to a United States Marshal for the purpose of

19                 an appearance in connection with a court proceeding; and

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 1         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

 2                counsel for the Defendant, to the United States Marshal, and to the United States

 3                Pretrial Services Officer.

 4         Dated this 12th day of January, 2021.

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 7                                                      MICHELLE L. PETERSON
                                                        United States Magistrate Judge
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     DETENTION ORDER - 3
